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                                CERTIFICATE OF SERVICE

       I, Gregory J. Flasser, hereby certify that on the 13th day of October 2020, I caused copies

of the Reply Brief of Hartford Accident and Indemnity Company, First State Insurance

Company and Twin City Fire Insurance Company and Century Indemnity Company in

Support of (I) Century and Hartford’s Motion to Compel the Attorneys Representing the

Entity Calling Itself the “Coalition” to Submit the Disclosures Required by Federal Rule of

Bankruptcy Procedure 2019 to be served on the attached 2002 service list via email or first

class mail where email is unavailable.




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